                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION


UNITED STATES OF AMERICA              )
                                      )
v.                                    )   Criminal Case: 3:13-00097-9
                                      )   Magistrate Judge Knowles
MICHAEL CHAD CORLEY                   )


                                O R D E R


     Pending before the Court is Defendant’s Motion for Expedited

Review of Detention Order.      Docket No. 305.        A Detention Review

hearing for Defendant, Michael Chad Corley, is scheduled for

Wednesday, October 2, 2013, at 2:30 p.m.

     IT IS SO ORDERED.




                                     E. CLIFTON KNOWLES
                                     United States Magistrate Judge




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